Case 2:18-cv-05741-DMG-PLA Document 40-3 Filed 08/09/18 Page 1 of 8 Page ID #:1234




                            Exhibit 35
   Page 5
Banner Health
BANNER 'THUNDERBIRD MEDICAL CENTER
5555 W. Thunderbird Road
Glendale, AZ 85306-4622
                                     •                           Patient:
                                                                 DOB :
                                                                 MR#:
                                                                                   •
  Case 2:18-cv-05741-DMG-PLA Document 40-3 Filed 08/09/18 Page 2 of 8 Page ID #:1235


                                                                               2005 Sex: Male

                                                                 Patient location : 2~ ERP
                                                                                                                Age: 12 years



                                                                 Attending Physician; SCHNEIDER DO,WILLlAM VINCENl

                              CONSULTATION REPORTS PIERTINENT REPORT

JMS : NTS
D : 02/22/2018 12:42 MST
T:02/22/2018 13:58 MST
1429824/ 1 03162S5
Banner Thunderbird M~dical Center


cc:_       Wi lliam V Schne i der DO



                                              ED PERTINENT REPORT

Document Name:                                                .Emergency Room Report
Result Status:                                                Auth (Verified)
Signed By:                                                    SCHNEIDER DO,WILLIAM VINCENT (2/20/2018 14:24
                                                              MST)

Psychiatric problem

Patient:                                                MRN:                   FIN: 79538781
Age: 12 years Sex: Male    DOB:     2005
Associated Diagnoses: None
Author: SCHNEIDER DO, WILLIAM VINCENT

Basic Informatio n
  History source : Patient, caretaker,
  Arrival mode: Ambulance.
  History limitation: None .
  Additio nal information : Chief Compla{nt from Nurslng Triage Note : Patient's Chief Complaint
           02/20/2018 11 :52 MST              Patient's Chief Complaint            Pt has SI ideation x8 days since
                                                                                   being moved to southwest key
                                                                                   ump medlcal and "being removed
                                                                                   from family"; denies HI/ Clo left
                                                                                   sided wrist pain x 1 mo. pt denies
                                                                                   si at this time just states he is sad
                                                                                   and depressed being away from
                                                                                   his family tn guatemala
           02/20/2018 11: 18 MST               Patient's Chief Complaint           Pt has SI ideation x8 days since
                                                                                   being moved to southwest key
                                                                                   ump medical and "beihg removed
                                                                                   from family"; denies HI/ Clo left
                                                                                   sided wrist pain x 1 mo.



  Provider patient care initiated : 02/20/18 11:41
  Provider patient care initiated: 02/20/18 11 :30.
L = Low       H = High      C = Critical     • = Abnormal      " = Interpretive Data      c =Corrected        f :::: Footnote
Printed:   3/1/20 18 15:21 MST                              Page 3 of 9                      Report Request ID: 286 197009



       Page 6
Banner Health
BANNER THUNDERBIRD MEDICAL CENTER
5555 W. Thunderbird Road
Glendale, AZ 85306-4622
                                       •
   Case 2:18-cv-05741-DMG-PLA Document 40-3 Filed 08/09/18 Page 3 of 8 Page ID #:1236

                                                                                            Patient:
                                                                                            DOB :
                                                                                            MR#:
                                                                                                          2005 Sex: Male

                                                                                            Patient location: 22 ERP
                                                                                                                           •      Age: 12 years



                                                                                            Attending Physician : SCHNEIDER DO,WILLIAM VINCENl

                                                      ED PERTINENT REPORT
History of Present Illness
   The patient presents with psychiatric problem, suicidal ideation and depression. The onset was 8 days ago. The
course/dura1ion of symptoms is constant Character of symptoms depressed suicidal thoughts. The degree of symptoms
is moderate. Self injury: none. The exacerbating factor is family problems. The relieving factor is none. Risk factors
consist of age, suicide risk, not homicide risk, not alcohol abuse and not drug abuse . Prior episodes: occasional. Therapy
 today : none. Associated symptoms: denies fever, denies chills., denies vomiting, denies headache, denies dizziness,
denies chest pain, denies shortness of breath and denies abdominal pain. Additional history: none. Patient fell one
month ago and fnJured left wrist and still has pain.

Review of Systems
       Constitutional symptoms : No fever, no chills, no sweats.
       Skin symptoms: No rash, no pruritus.
       Eye symptoms: No pain, hO discharge.
       ENMT symptoms: No ear pain, no sore throat.
       Respiratory symptoms: No shortness of breath, no cough.
       Cardiovascular symptoms: No chest pain, no palpitations.
       Gastrointestinal symptoms: No abdominal pain, no nausea, no vomHlng .
       Genitourinary symptoms: No dysuria , no hematuria.
       Musculoskeletal symptoms: Muscle pain, Joint pain , No back pain,
       Neurologic symptoms: No dizziness., no altered level of consciousness.
       Psychiatric symptoms : Depression, sleeping problems, No substance abuse,
       Endocrine symptoms: No polyuria, no polydipsia.
       Hematologic/Lymphatic symptoms: No petechtae , no gum bleeding.
       Allergy/immunologic symptoms: No recurrent infections, no impaired immunity,
        Additional review of systems information: All systems reviewed as documented in chart .

Health Status
  Allergies:
      Allergic Reactions (Selected)
          No known allergies.
  Medications: None.
  Immunizations: Up to date.
  Menstrual history: Per nurse's notes.

Past Medical/ Family/ Social History
  Medical history:
      Resolved
           None (387958016) : Resolved ..
  Surgical history:
      No active procedure history iterns have been selected or recorded..
  Family history:
      H istory is unknown..
  Social history: Social History (ST)
  Social History
  Tobacco Status - Never 02/20/18 11 :59
  Other Substance Use/Abuse Status - Never 02/20/1811 !59
  Type of Advance Directive - N/A 02/20/18 11;59

L:::: Low    H == High   C :::: Critical             * =Abnormal                       11
                                                                                            = Interpretive Data                         c = Corrected      f = Footnote
Printed : 3/1/201815:21 MST                                                    Page 4 of 9                                                Report Request ID:   286197009


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  Case
  Case 2:18-cv-05741-DMG-PLA
       2:18-cv-05741-DMG-PLA Document

Banner Health
BANNER THUNDERBIRD MEDICAL CENTER
5555 W. Thunderbird Road
Glendale, AZ 85306-4622
                                     •
                             Document 40-3 Filed08/07/18
                                      33 Filed   08/09/18 Page
                                                           Page114 of
                                                                   of 43
                                                                      8 Page

                                                                Patient:
                                                                DOB:
                                                                MR#:
                                                                         PageID

                                                                                 •
                                                                              ID#:1237
                                                                                 #:910


                                                                              2005 Sex: Male

                                                                Patient Location: 22 ERP
                                                                                                             Age: 12 years



                                                                Attending Physician: SCHNEIDER DO,WILLIAM VINCENl

                                            ED PERTINENT REPORT
  Is the Patient Alone? - NIA 02/20/18 11 :59
  Suspected Abuse/Neglect Observation - No signs or symptoms observed 02/20/18 11 :59 , Alcohol use: Denies,
  Tobacco use: Denies, Drug use : Denies, Family/social situation : Group home resident.
  Problem list: Per nurse's notes

Physical Examination

       Vital Signs

    VITALS
    Temp C - 37 .0 DegC
    Temp F - 98.6 Deg F
    Systolic Blood Pressure - 112 mmHg 02/20/18 11 :24
    Diastolic Blood Pressure - 68 tnmHg 02/20/18 11 :24
    Heart Rale - 58 bpm 02/20/18 11 :24
    Respiratory Rate - 16 br/min 02/20/18 11 :24
    Sp02 ~ 100 % 02/20/1811:24
    Oxygen Therapy - Room air 02/20/18 11 :24

    MAX TEMP 24HRS
    Temp C - 37 .0 DegC
    OXYGENATION VITAL SIGNS
           02/20/2018 11:18 MST                Sp02                                   100 %
                                               Oxygen Therapy                         Room air
                                               Pulse ox site                          Finger/hand left

     HEIGHT/WEIGHT
            02/20/201811:18 MST          Weight                53.8 kg
       General: Alert, mild d istress.
       Sl<jn~ Warm , dry, no pallor, no r;:ish, normril for ethnicity, Not cyanotic,
       Head: Normocephalic 1 atraumatic.
       Neck: Supple, trachea rnidline .
       Eye: Pupils are equal, round and reactive to light. extraocular movements are intact.
       Cardiovascular: Regular rate and rhythm, No murmur.
       Respiratory: Lungs are clear to auscultation, respirations are non-labored , breath sounds are equal.
       Chest wall: No tenderness, No deformity.
       Back: Nontender, Normal range of motion,
       Musculoskeletal: Normal ROM, normal strength , no swelling, no deformity, Tenderness to left wrist on
               examination.
       Gastrointestinal: Soft, Nontender, Non dfslended, Normal bowel sounds, No organomegaly.
       Neurological: Alert and oriented to person, place, time, and situation, No focal neurological deficit observed, CN
               II-XII intact, normal sensory observed, normal motor observed,
       Lymphatics : No lymphadenopathy.
       Psychiatric: Mood and affect: Depressed, Behavior: Relaxed, Judgment: Impaired by abnormal thoughts,
               Abnormal I Psychotic thoughts: Suicidal.

Medical Decision Making
L = Low       H =High       C = Critical    • = Abnormal      " = Interpretive Data       c =- Corrected        f = Footnote
Printed:   3/1/20 18 15:21 MST                             Page 5 of 9                        Report Request ID : 286197009


      Page 8
Banner Health
BANNER THUNDERBlRD MEDICAL CENTER
5555 W, Thunderbfrd Road
Glendale, AZ 85306-4622
                                       •
   Case 2:18-cv-05741-DMG-PLA Document 40-3 Filed 08/09/18 Page 5 of 8 Page ID #:1238

                                                                                            Patient:
                                                                                            DOB:
                                                                                            MR#:
                                                                                            Patient Location : 22 ERP
                                                                                                                               •
                                                                                                                       /2005 Sex: Male                           Age: 12 years



                                                                                            Attending Physician: SCHNEIDER DO,WILLIAM VINCENl

                                                       EDPERnNENTREPORT
     Differential Diagnosis: Anxiety, depression, suicide risk, schizophrenia, bipolar .dfsorder, drug abuse, medication
             reactlon, psychosis .
     Documents reviewed: Prior records.
     Orders Import Selected Orders (Selected)
         Inpatient Orders
             Ordered
                  Consult Interpretation Services: 02/20/18 13:43 :00 MST, Assessment
                  ED Pain Assessment: 02/20/18 11 :59 :20 MST
                  Patient Transfer Services Request: 02/20/18 11 :54:00 MST, Behavioral Health Facility, Behavioral
                             Health, Non~specified, Specialty not available, Emergent, 02/20/18 11 :54:00 MST. 02/20/18
                             11 :54:00 MST
                  Precautions - Suicide/Danger to self/Danger to others: 02/20/18 11 :28:03 MST
             Completed
                  Consult Interpretation Services; 02/20/18 11 :46;00 MST, Physician/NP/PA
                  Consult Interpretation Services: 02/20/18 11 :53:00 MST, Assessment, Reason for Consult Done by
                            Alan, Done by Alan
                  Drug Abuse Urine: Urine, ER Stat, ES, 02/20/18 11 :54:00 MST,. Nurse Collect, Pctnt Label, 02/20/18
                             11 :55:00 MST
                  ED Assessment: 02/20/18 11:17:02 MST
                  ED Intake: 02/20/ 1811:17:03 MST
                  ED Quick Look: 02/20/18 11 :17 :02 MST
                  Pedfatric Columbia SSRS Recent Screen: 0212ona 11 :17:00 MST
                 Set Up Procedure: 02/20/18 11 :55:00 MST, OTHER, velcro wrist splint, 02/20/18 11 :55:00 MST,
                             02/20/18 11 :55:00 MST
                  Urine Collect: 02/20/18 11 :55'. 03 MST
                 Wrist 3 Or More Views Lt: 02/20/18 11 :54:00 MST, ER Stat, Stretcher, fall , pain, foosh, 22 EER,
                             02/20/18 11 :54:00 MST; 02/20/18 11 :54:00 MST.
     Cardiac monitor: Time 02/20/20 18 14:22, Rate 75, normal sinus rhythm no Atrial fibrillation, no Premature Atrial
             Contraction (PAC), no Premature Ventricular Contraction (PVC).
     Results review: Medical Imaging (ST)
     Radiology Results:



     DIAGNOSTIC RADIOLOGY
     _Wrist 3 Or More Views Lt - Entered by: George RT, Tracy L - 02/20/2018 12:57
     History: fall, pafn, fooshFlndings: 3 views of the left wrist are obtained, There is no fracture ormalalignment joint
              spaces are normal.IMPRESSION: No radiographic evidence of left wrist injury.Time of Dictation: 2/20/2018
              1:17 PM The workstation used in generating this report was CRIPHX113898898.



Reexamination/ Reevaluation
Time: 02/20/2018 14:22 ,
Vital signs

  VITALS
  Temp C - 37 .0 DegC

L = Low        H = High      C = CriUcal             * =Abnormal                    /\=Interpretive Data                                    c   =Corrected        f   =Footnote
Printed :   3/1/20 18 15:21 MST                                                  Page 6 of 9                                                     Report Request ID:    286197009


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Banner Health
BANNER THUNDERBIRD MEDICAL CENTER
5555 W. Thunderbird Road
Glendale, AZ 85306-4622
                                                         •
   Case 2:18-cv-05741-DMG-PLA Document 40-3 Filed 08/09/18 Page 6 of 8 Page ID #:1239

                                                                                                   Patient:
                                                                                                   DOB:
                                                                                                   MR#:
                                                                                                                         •
                                                                                                                2005 Sex: Male

                                                                                                   Patient Location: 22 ERP
                                                                                                                                        Age: 12 years



                                                                                                   Attending Physician: SCHNEIDER 00,WILUAM VINCENl

                                                                         ED PERTINENT REPORT
   Temp F - 98.6 Deg F
   Systolic Blood Pressure - 112 rnmHg 02/20/18 11 :24
   Diastolic Blood Pressure - 68 mmHg 02/20/18 11 :24
   Heart Rate - 58 bpm 02/20/18 11 :24
   Respiratory Rate - 16 br/min 02/20/18 11 :24
   Sp02-100 % 02/20/1811:24
   Oxygen Therapy - Room air 02/20/18 11:24

  MAX TEMP 24HRS
  Temp C - 37 .0 OegC
Course: unchanged.

Procedure
  Procedure notes:
    velcro wrist splint placed to the patient's wrist for immobilization as well as for support. The neurovascular status is
         intact after the spllnt was applied by myself.

Impress.ion and Plan
  Diagnosis
  Depression with suicidal ideation {Major depressive disorder, single episode, unspecified, F32.9)
  Wrist sprain (Unspecified sprain of unspecified wrist, initial encounter, S63.509A}
  Plan
    Condition: Stable, Patient has been medically cleared. The patient will be seen by the BTMC Behavioral Health staff
           for determination of the behavioral health care plan ..
     Disposition: Medically cleared, Patient care transitioned to: transfer to behavior health for further evaluation and
          treatment..
    Notes: Critical care time 32 minutes which includes cardiac monitoring, psychiatric monitoring, and neurological
          monitoring, bedside time, discussion with specialist, interpretation of results. At this time, patient not allowed to
          leave the Emergency Room due to the suicidal ideations and physical or chemical restraints will be used as
          needed ..


                                                                                   TOXICOLOGY

                                                               ____,____u._r._in_a_o_,u...;g;;..s______________~ _ _ _ _ _ _ __J

                           Collected Dale: 2/20/2018
                           Collected Time' 12:45 MST .
                  " Procedure --- --·· - -~ ........ .. ... " . '.               ·units "Reference Range
Ampnetamine Screen.UR                                         . 1feg.ative
                                                                1                    j NegativeJ
Barbiturate~.$-creen,IJ°Ff"' ..                                 Neg·a tive           '.[Negative} .. .
'.s eniiii:li.azepine      Screen,CJI~  -··                     Negative- - ;· -··---['Negative]"' .............. ..
;c aiina"bfnaicnrHcf          sc,een;UR     NeiiatTve - -'                               [NegativeJ · ...._..........-
'ccicaine·screen,uR - ... .                     ...            N'egative ...-.           [Negative}
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Opiate· screen.u~ .. ~......- .........~:::::::::..:~... .. :~.~. . ·N'egat~~e           :[~~~~u.~e~ - .. ..
L = Low             H = High     C = Critical                           • = Abnormal         = Inter pretive .Oata
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Printed:         3/1/2018 15:21 MST                                                     Page 7 of9                              Report Request ID: 286197009


          Page 10
Banner Health
BANNER THUNDERBIRD MEDICAL CENTER
5555 W. Thunderbird Road
Glendale, AZ 85306-4622
                                       •
  Case 2:18-cv-05741-DMG-PLA Document 40-3 Filed 08/09/18 Page 7 of 8 Page ID #:1240

                                                                        Patient:
                                                                        DOB:
                                                                        MR#:
                                                                                       •
                                                                                     2005 S.ex: Male

                                                                        Patient Location: 22 ERP
                                                                                                             Age: 12 years



                                                                        Attending Physician: SCHNEIDER DO,WILLIAM VINCENl

                                                            TOXICOLOGY
!t _ _ ,_ _ _ _ _ _ _ _ __                                     Urine Drugs                                               .l
                     - Coflected- Date'. . ·21261i(f11t .
                       Collected Time; 12:45 MST :
       - ·· -· Procedure·······"----.. ,".............. ')Jnlfs .. Fieference··Range
OSAU Comment                           (' ..   see·Note~, "1
Interpretive Data
A1:     DSAU Comment
         Positive results are unconfirme d unless reported with a confirmation.
        Culoff value for positive drug screen results:

        Drugs Analy2ed                           Cutoff Concentration ng/mL
        Amphetamine                               1000
        l:Sarbiturate                              200
        Ben2odia2epine                             200
        Cannabinoid (THC)                           50
        Cocaine                                    300
        Methadotie                                 300
        Opiate                                     300

        Unconfirmed positive res.ult.s are for medical purposes only.


                                                    DIAGNOSTIC RADIOLOGY

                                                 Exam Date/Time                         Accession Number:
Wrlst 3 Or More Views Lt                         2/20/2018 12:57 MST                    22-RA-18-00i4258
Reason For Exam
(Wrist 3 Or More Views Lt) fall, pain, foosh




L = Low       H :e High   C = Critical              "= Abnormal      A"" Interpretive Data    c "' Corrected       f = Footnote
Printed;   3/1/2018 15:21 MST                                     Page 8 of 9                     Report Request ID: 286197009


       Page 11
                                    •                                                   •
   Case 2:18-cv-05741-DMG-PLA Document 40-3 Filed 08/09/18 Page 8 of 8 Page ID #:1241

Banner Health                                                        Patient:
BANNER THUNDERBIRD MEDICAL CENTER                                    DOB :        2005 Sex: Male           Age: 12 years
5555 W. Thunderbird Road                                             MR#:
Glendale, AZ 85306-4622                                              Patient Location : 22 ERP
                                                                     Attending Physician : SCHNEIDER DO,WILLIAM VINCENl

                                            DIAGNOSTIC RADIOLOGY

                                        Exam Dale/Time                                Accession Number:
Wrist 3 Or More Views Lt                2/20/2018 12 ;57 MST                          22-RA-XX-XXXXXXX

Report:
History: fall, pain, foosh

Findings: 3 views of the left wrist are obtained . There is no fracture or
malal ignment joint spaces are normal _

IMPRESSION: No rad i ographic evidence of l eft wrist injury.

Time of Dictation :        2/20/20 1 8 1 : 17 PM



The works t ation used in generating this report was CRIPHX11389889 8.
                                   "**h Final Report ._.•,,..

o;ctated Datemme: 02/20118 01:2:Jpm MST                     lnterprered By: THOMPSON MD, COLIN MICHAEL
Signature Date Time: 02120/18 01:23 pm MST:CMT                  Signed By: THOMPSON MD. COLIN MICHAEL
                                                          E/ectronica/ly Signed




L = Low      H = High     C =Critical         •=Abnormal           /\ = Interpretive Data   c = Corrected       f = Footnote
Printed : 3/1/2018 15:21 MST                                    Page 9 of9                     Report Request ID: 286197009


       Page 12
